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                                                                       December 29, 2022

           VIA ECF
           The Honorable Peter G. Sheridan
           U.S. District Court for the District of New Jersey
           Clarkson S. Fisher Building & U.S. Courthouse
           402 East State Street
           Room 2020
           Trenton, NJ 08608

                         Re:     Association of New Jersey Rifle & Pistol Clubs, Inc., et al. v. Matthew
                                 Platkin, et al.
                                 Civil Action No.: 18-cv-10507

           Dear Judge Sheridan:

                         We represent Plaintiffs in the above referenced matter.

                  There is currently due on January 4, 2023, Plaintiff’s response to the State Defendants’
           proposed schedule for proceeding forward in this matter. The State Defendants’ have proposed
           substantial fact and expert discovery, culminating in dispositive motions approximately one year
           from now, and in doing so have offered the declaration of a proposed expert witness.

                   As the Court is aware, Plaintiffs strongly disagree with that approach and contend that
           substantially less is appropriate and necessary. This is the reason the Court originally directed the
           parties to set forth their positions in writing for the Court to consider.

                   However, since the Court first directed the parties to do so, a major complicating factor
           has arisen. The State Defendants have also moved to consolidate this four-year-old matter with
           two other new matters filed this year challenging an entirely a different statute. That motion is
           returnable on January 17, 2023, and Plaintiffs’ opposition is due January 3, 2023.

                   If the Court decides to grant the motion to consolidate, the schedule in this matter is
           likely to be very different, and the positions of the parties and the arguments in favor of those
           positions will likely be very different. Therefore, Plaintiffs contend that setting forth their
           position on scheduling is not really meaningful without knowing what the Court is going to do
           on the consolidation motion.
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         Accordingly, Plaintiffs respectfully request that the Court adjourn the due date for
 Plaintiffs’ position on scheduling until after the Court has decided the pending consolidation
 motion.

        All counsel have consented to this request. Thank you.


                                                    Respectfully submitted,


                                                    __s/ Daniel L. Schmutter__
                                                    DANIEL L. SCHMUTTER
 DLS/ars
 cc:   Daniel M. Vannella Esq.
       Kathleen N. Fennelly, Esq.
